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UNI'I'ED S'I'A'I‘ES OF AMERICA
Plaintiff,
VS. CR. NO. 05-20029~D

ANTHONY WILLIS
Defendant.

 

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This cause came to be heard on August 11, 2005, the United States
Attorney for this district, Camille Reese McMullen, appearing for the
Government and the defendant, Anthony Willis, appearing in person and with
counsel, L. Daniel Johnson, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts l-lO of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, NOVEMBER 10, 2005, at
1:30 P.M., in Courtrodm No. 3, on the 9th floor before Judge Bernice B.

Donald.

Defendant is allowed to remain released on present bond.

ENTERED this theyi£ day of August, 2005.

§I’%;; 144

 

UNITED STATES DISTRICT JUDGE

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Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 46 in
case 2:05-CR-20029 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

